         Case 1:17-cv-02313-JDB Document 16 Filed 01/12/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 CENTER FOR ENVIRONMENTAL
 SCIENCE, ACCURACY, &
 RELIABILITY, et al.,

         Plaintiffs,
           v.                                            Civil Action No. 17-2313 (JDB)
 UNITED STATES DEPARTMENT OF
 THE INTERIOR, et al.,

         Defendants,

 NATURAL RESOURCES DEFENSE
 COUNCIL, INC., et al.,

         Defendant-Intervenors.




                                            ORDER

       Before the Court is [8] a motion to intervene as defendants filed by the Natural Resources

Defense Council, National Audubon Society, Center for Biological Diversity, Endangered

Habitats League, and Laguna Greenbelt (collectively, the “Conservation Groups”). Plaintiffs and

federal defendants have indicated that they take no position on the motion to intervene. See

Federal Defendants’ Response to Mot. to Intervene [ECF No. 13] at 1; Plaintiffs’ Response to Mot.

to Intervene [ECF No. 14]. To the extent that standing is required to intervene in this case, see

Mot. to Intervene [ECF No. 8] at 10 n.2, the Conservation Groups have satisfied the requirements

for Article III standing. They have also met the requirements to intervene as of right pursuant to

Federal Rule of Civil Procedure 24(a)(2). And they have alternatively shown that permissive

intervention under Federal Rule of Civil Procedure 24(b) is appropriate here. Accordingly, it is


                                                1
            Case 1:17-cv-02313-JDB Document 16 Filed 01/12/18 Page 2 of 2



hereby

          ORDERED that [8] the Conservation Groups’ motion to intervene is GRANTED; it is

further

          ORDERED that the Conservation Groups are joined as defendants in this action; and it is

further

          ORDERED that the Clerk of Court shall docket [8-1] as the Conservation Groups’ answer

to the complaint in this matter.

          SO ORDERED.

                                                                           /s/
                                                                   JOHN D. BATES
                                                             United States District Judge


Dated: January 12, 2018




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